Case 2:05-md-01657-EEF-DEK Document 18772-1 Filed 05/19/09 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Vioxx®

* MDL Docket No. 1657

*
PRODUCTS LIABILITY * SECTION L
LITIGATION *

* JUDGE FALLON
This document relates to: *

*
Burts, Janet May v. Merck & Co., Inc., * MAGISTRATE JUDGE
Ine; Docket No. 2:07cv03936 * KNOWLES

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Carol Ann Lucero in the above-captioned |
case be and they hereby are dismissed with prejudice with each party to bear his or her own

costs.

NEW ORLEANS, LOUISIANA, this day of , 2007

DISTRICT JUDGE

919566v.1
